                                   Case 3:18-cr-00048-VAB Document 74-14 Filed 12/21/18 Page 1 of 3




Table D.
U.S. District Courts–Criminal Defendants Commenced, Terminated, and Pending (Including Transfers),
During the 12-Month Periods Ending June 30, 2017 and 2018
                            Filings                              Terminations                            Pending ²
  Circuit and                           Percent                                 Percent                               Percent
    District     2017       2018        Change ¹      2017          2018        Change ¹      2017        2018        Change ¹

       Total       75,235      84,828         12.8      75,380        77,915            3.4     98,850      106,106          7.3
DC                    315         421         33.7         270           234          -13.3        872        1,032         18.3

         1st        2,463       2,277          -7.6      2,260          1,939         -14.2      3,503        3,789           8.2
ME                    200         186          -7.0        225            190         -15.6        183          184           0.5
MA                    531         488          -8.1        507            594          17.2        836          719         -14.0
NH                    231         236           2.2        215            223           3.7        211          224           6.2
RI                    111         151          36.0        101            115          13.9        135          173          28.1
PR                  1,390       1,216         -12.5      1,212            817         -32.6      2,138        2,489          16.4

         2nd        3,569       3,687           3.3      3,590          3,864           7.6     10,798       10,744          -0.5
CT                    355         430          21.1        385            369          -4.2        586          642           9.6
NY,N                  367         468          27.5        424            519          22.4        762          773           1.4
NY,E                  735         788           7.2        772            763          -1.2      2,824        2,883           2.1
NY,S                1,518       1,376          -9.4      1,272          1,535          20.7      5,392        5,273          -2.2
NY,W                  395         466          18.0        522            514          -1.5        953          911          -4.4
VT                    199         159         -20.1        215            164         -23.7        281          262          -6.8

         3rd        2,501       2,672           6.8      2,496          2,457          -1.6      5,215        5,448          4.5
DE                     84          83          -1.2         87             75         -13.8        202          209          3.5
NJ                    612         748          22.2        792            623         -21.3        818          953         16.5
PA,E                  679         620          -8.7        705            741           5.1      1,425        1,321         -7.3
PA,M                  502         557          11.0        362            495          36.7      1,081        1,150          6.4
PA,W                  468         593          26.7        451            475           5.3        768          879         14.5
VI                    156          71         -54.5         99             48         -51.5        921          936          1.6

         4th        7,926       7,981           0.7      7,418          7,591           2.3     12,169       12,592          3.5
MD                  1,798       1,713          -4.7      1,743          1,609          -7.7      4,395        4,419          0.5
NC,E                  901       1,042          15.6        966          1,003           3.8      2,300        2,393          4.0
NC,M                  519         465         -10.4        468            468           0.0        502          514          2.4
NC,W                  701         624         -11.0        654            610          -6.7        671          663         -1.2
SC                    982       1,131          15.2        797            991          24.3      1,392        1,556         11.8
VA,E                2,098       2,076          -1.0      1,894          2,052           8.3      1,944        1,978          1.7
VA,W                  297         260         -12.5        356            302         -15.2        431          411         -4.6
WV,N                  337         349           3.6        262            306          16.8        319          358         12.2
WV,S                  293         321           9.6        278            250         -10.1        215          300         39.5

         5th       16,575      19,400         17.0      17,464        17,565           0.6      16,572       18,408          11.1
LA,E                  308         360         16.9         390           377          -3.3         433          418          -3.5
LA,M                  185         239         29.2         146           204          39.7         324          356           9.9
LA,W                  324         321         -0.9         310           315           1.6         343          356           3.8
MS,N                  181         175         -3.3         173           200          15.6         201          165         -17.9
MS,S                  379         520         37.2         324           406          25.3         349          461          32.1
                        Case 3:18-cr-00048-VAB Document 74-14 Filed 12/21/18 Page 2 of 3




TX,N          1,391    1,622    16.6     1,488    1,527     2.6    1,783    1,891    6.1
TX,E            754      872    15.6       912      834    -8.6    1,377    1,423    3.3
TX,S          6,297    6,563     4.2     6,780    6,086   -10.2    7,277    7,784    7.0
TX,W          6,756    8,728    29.2     6,941    7,616     9.7    4,485    5,554   23.8

       6th    4,770    6,052    26.9     4,681    4,981    6.4     6,762    7,771   14.9
KY,E            408      476    16.7       410      399   -2.7       659      743   12.7
KY,W            526      534     1.5       445      471    5.8       844      896    6.2
MI,E            880    1,038    18.0       968      946   -2.3     1,363    1,396    2.4
MI,W            353      449    27.2       400      376   -6.0       214      285   33.2
OH,N            587      911    55.2       566      729   28.8       595      783   31.6
OH,S            619      808    30.5       553      587    6.1       850    1,062   24.9
TN,E            646      749    15.9       684      674   -1.5       750      825   10.0
TN,M            265      353    33.2       245      303   23.7       448      488    8.9
TN,W            486      734    51.0       410      496   21.0     1,039    1,293   24.4

       7th    2,662    2,805     5.4     2,505    2,611     4.2    4,356    4,585    5.3
IL,N            766      724    -5.5       682      792    16.1    1,859    1,820   -2.1
IL,C            313      355    13.4       356      309   -13.2      336      388   15.5
IL,S            261      284     8.8       290      248   -14.5      267      297   11.2
IN,N            419      408    -2.6       301      389    29.2      608      639    5.1
IN,S            439      542    23.5       449      432    -3.8      537      644   19.9
WI,E            325      321    -1.2       290      306     5.5      517      527    1.9
WI,W            139      171    23.0       137      135    -1.5      232      270   16.4

       8th    5,160    5,824    12.9     5,115    5,141     0.5    5,983    6,691   11.8
AR,E            403      724    79.7       445      514    15.5      690      902   30.7
AR,W            231      238     3.0       260      228   -12.3      377      384    1.9
IA,N            382      442    15.7       417      393    -5.8      258      299   15.9
IA,S            488      564    15.6       397      475    19.6      411      497   20.9
MN              400      362    -9.5       456      351   -23.0      380      400    5.3
MO,E            920    1,247    35.5       765      879    14.9      992    1,361   37.2
MO,W            763      773     1.3       837      756    -9.7    1,195    1,210    1.3
NE              582      557    -4.3       611      606    -0.8      565      555   -1.8
ND              383      350    -8.6       380      347    -8.7      493      491   -0.4
SD              608      567    -6.7       547      592     8.2      622      592   -4.8

       9th   15,354   18,511     20.6   15,551   16,850     8.4   16,795   18,489   10.1
AK              204      282     38.2      224      201   -10.3      265      350   32.1
AZ            5,658    5,452     -3.6    6,015    4,954   -17.6    2,570    3,074   19.6
CA,N            582      599      2.9      642      634    -1.2    1,262    1,226   -2.9
CA,E            537      628     16.9      640      515   -19.5    2,292    2,415    5.4
CA,C          1,309    1,626     24.2    1,236    1,292     4.5    3,044    3,384   11.2
CA,S          3,805    6,304     65.7    3,438    5,933    72.6    2,637    2,961   12.3
HI              209      185    -11.5      161      189    17.4      443      454    2.5
ID              339      454     33.9      360      382     6.1      335      406   21.2
MT              351      388     10.5      373      367    -1.6      401      418    4.2
NV              529      590     11.5      536      529    -1.3    1,131    1,202    6.3
OR              503      520      3.4      516      497    -3.7      675      702    4.0
WA,E            396      403      1.8      383      375    -2.1      443      453    2.3
WA,W            845    1,016     20.2      925      884    -4.4    1,177    1,320   12.1
GUAM             61       46    -24.6       81       80    -1.2       88       88    0.0
                                             Case 3:18-cr-00048-VAB Document 74-14 Filed 12/21/18 Page 3 of 3




NMI                            26              18            -30.8              21             18             -14.3             32              36   12.5

        10th                6,650           7,519             13.1          6,901           7,087               2.7          6,865           7,300    6.3
CO                            492             602             22.4            474             534              12.7          1,070           1,150    7.5
KS                            627             645              2.9            658             609              -7.4          1,454           1,488    2.3
NM                          3,596           4,090             13.7          3,957           4,098               3.6          1,602           1,613    0.7
OK,N                          171             226             32.2            202             180             -10.9            145             183   26.2
OK,E                           79             158            100.0            107             111               3.7             61             120   96.7
OK,W                          487             638             31.0            427             540              26.5          1,022           1,124   10.0
UT                            868             908              4.6            811             784              -3.3            738             826   11.9
WY                            330             252            -23.6            265             231             -12.8            773             796    3.0

        11th                7,290           7,679              5.3          7,129           7,595              6.5           8,960           9,257    3.3
AL,N                          573             607              5.9            484             554             14.5             674             737    9.3
AL,M                          267             327             22.5            197             235             19.3             470             562   19.6
AL,S                          339             373             10.0            343             337             -1.7             391             415    6.1
FL,N                          452             425             -6.0            422             473             12.1             653             669    2.5
FL,M                        1,491           1,654             10.9          1,603           1,711              6.7           1,722           1,776    3.1
FL,S                        2,488           2,426             -2.5          2,493           2,455             -1.5           1,986           1,955   -1.6
GA,N                          595             755             26.9            599             656              9.5           1,448           1,549    7.0
GA,M                          516             525              1.7            477             546             14.5             716             731    2.1
GA,S                          569             587              3.2            511             628             22.9             900             863   -4.1

NOTE: This table includes defendants in all cases filed as felonies or Class A misdemeanors, but includes only those defendants in cases filed as
petty offenses that were assigned to district judges rather than magistrate judges.
¹ Percent change not computed when fewer than 10 defendants reported for the previous period.
² Pending totals exclude defendants who had been fugitives more than 12 months before the end of the period indicated.
